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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                        Plaintiff,

         v.                                         No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                        Defendants.


             DEFENDANTS’ MOTION TO EXCLUDE OPINIONS OF
    DR. SEAN NICHOLSON PURSUANT TO FEDERAL RULE OF EVIDENCE 702

       Pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharm., Inc., 509

U.S. 579, 597 (1993), Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira Inc.

(collectively “Defendants”), hereby move this Court to exclude the opinions of Dr. Sean Nicholson

regarding lost profits and reasonable royalty. As set forth in Defendants’ supporting Memorandum,

Dr. Nicholson’s opinions regarding lost profits and a reasonable royalty should be excluded

because (1) Dr. Nicholson fails to apportion Janssen’s alleged damages to the footprint of the ’083

patent; and (2) Dr. Nicholson misapplied the Panduit test for lost profits. For both of these reasons,

Dr. Nicholson’s opinions are legally improper, irrelevant, and cannot assist the trier of fact.

       WHEREFORE, Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira Inc.

respectfully request that this Court exclude the opinions of Dr. Nicholson regarding lost profits

and a reasonable royalty.
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Dated: May 4, 2018                 Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

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                                 LR 7.1(a)(2) CERTIFICATION

        I, Andrea L. Martin, hereby certify that Defendants’ counsel has conferred with Plaintiff’s

counsel and attempted in good faith to resolve or narrow the issue raised in this motion. No

agreement has been reached. Plaintiff has asserted that it will oppose this motion.

                                                  /s/ Andrea L. Martin, Esq.
                                                  Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 4,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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